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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION




 FEDERAL TRADE COMMISSION,

 STATE OF ILLINOIS,                                Case No. 3:25-cv-50017
 and                                               COMPLAINT
 STATE OF MINNESOTA,                               [REDACTED VERSION OF DOCUMENT
                                                   SOUGHT TO BE SEALED]
                Plaintiffs,

         v.

 DEERE & COMPANY,

                Defendant.



        1.     For decades, Defendant Deere & Company, a manufacturer of large agricultural

equipment including tractors and combines, has throttled the ability of farmers and independent

repair providers (“IRPs”) to repair Deere equipment, leaving farmers wholly reliant upon

Deere’s network of authorized dealers (“Deere dealers”) for many key repairs. Deere’s

increasingly sophisticated agricultural equipment requires a software tool to diagnose and repair

problems that relate to electronic functions, and only Deere has the information and knowledge

to create this essential tool. By making this tool available only to Deere dealers, Deere forces

farmers to turn to Deere dealers for critical repairs rather than complete the repairs themselves or

choose an IRP that may be cheaper, closer, faster, or more trusted. Deere’s unlawful business

practices have inflated farmers’ repair costs and degraded farmers’ ability to obtain timely

repairs, which is especially critical in times of planting and harvesting.




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       2.      Plaintiffs Federal Trade Commission (“FTC”), the State of Illinois, and the State

of Minnesota petition this Court, pursuant to Section 13(b) of the Federal Trade Commission Act

(“FTC Act”), 15 U.S.C. § 53(b), Section 16 of the Clayton Act, 15 U.S.C. § 26, the Illinois

Antitrust Act, 740 ILCS 10/3(3), and the Minnesota Antitrust Law of 1971, Minn. Stat. Sections

325D.49 to 325D.66, to enter a permanent injunction and other equitable relief against Deere to

prevent its unlawful conduct in or affecting commerce in violation of Section 5(a) of the FTC

Act, 15 U.S.C. § 45(a), Section 2 of the Sherman Act, 15 U.S.C. § 2, the Illinois Antitrust Act,

740 ILCS 10/3(3), and the Minnesota Antitrust Law, Minn. Stat. Sections 325D.49 to 325D.66,

and Minnesota Statutes Section 8.31.

I.     NATURE OF THE CASE

       3.      Deere is the world’s leading manufacturer of agricultural equipment like large

tractors and combine harvesters, and Deere enjoys a dominant share of large tractor and combine

sales in the United States. Deere distributes its equipment and related parts in the United States

through a network of authorized Deere dealers that promote and sell equipment and parts and

provide repair services to farmers. Deere appoints dealers to act as its authorized dealers,

oversees changes to its dealers’ ownership and business structures, and has contractual rights to

                           . As part of this contractual relationship, Deere dealers are also

required to “actively and aggressively promote” Deere parts.

       4.      Durable, reliable, and easily repairable agricultural equipment is critical to

American farmers’ ability to profitably produce their crops. Planting, spraying, and harvesting

are all weather-dependent and time-sensitive processes. When these activities are interrupted by

equipment malfunction, farmers must be able to restore their equipment and resume work

quickly.




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       5.      Farming is also a seasonal business, with periods of downtime during which

farmers can make use of their own labor and know-how to perform maintenance and repair of

their agricultural equipment to minimize the risk of equipment malfunction when the equipment

is needed most.

       6.      For these and other reasons, many farmers have historically developed and relied

on their own ability to repair equipment in the field or on the farm. Farmers have also relied

historically on local IRPs, which offer competitive advantages compared to Deere dealers,

including lower cost, proximity, speed, and/or reliability. And in the past, those farmers who

chose to rely on Deere dealers have benefited from the competition those dealers faced from

IRPs and the ability of farmers to self-repair.

       7.      In recent decades, Deere has increasingly computerized its agricultural

equipment, with numerous functions being performed, monitored, and/or regulated by

computerized components referred to as “electronic control units” or “ECUs.” As a result, repair

of Deere equipment is no longer purely mechanical; such repair now commonly requires

interacting with onboard equipment software to diagnose a problem and/or to calibrate and

reprogram any affected ECUs contained in the equipment or replacement parts. This in turn

requires the use of an interactive software tool (“repair tool”) that is able to communicate with

the equipment’s onboard systems to perform diagnosis and repair.

       8.      Deere has monopoly power in the market for fully functional repair tools capable

of enabling all repairs on Deere agricultural equipment. Only Deere has the requisite information

and knowledge to develop a fully functional repair tool for Deere equipment. Deere has

developed such a tool, which Deere calls Service ADVISOR™ (“Full-Function Service

ADVISOR”) and which Deere makes available only to its authorized dealers. Deere has also




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developed an inferior repair tool that is not capable of enabling all repairs on Deere agricultural

equipment, which Deere calls Customer Service ADVISOR™ and which is now available to

farmers and IRPs. This tool lacks many of the key functions necessary to enable comprehensive

repair.

          9.    Deere also fails to

                                                                 , as equipment manufacturers in

the automotive and trucking industries do.

          10.   Because Deere makes its fully functional repair tool available only to its dealer

network, farmers and IRPs are unable to perform certain essential repairs—and thus unable to

competitively constrain Deere dealers in the provision of these and other key repair services.

Farmers are forced to turn to Deere dealers for repairs that they would do themselves or take to

an IRP but for Deere’s restrictions.

          11.   As a result, Deere has acquired and maintained monopoly power in a relevant

market for the provision of repair services that require the use of a fully functional repair tool.

Through its limited distribution of the repair tool, Deere controls entry into, and limits output in,

the provision of such services. As a consequence, Deere’s dealers are able to maintain a 100%

market share and charge supracompetitive prices for restricted repairs, and Deere itself reaps

additional profits through parts sales. And the effects of Deere’s conduct extend beyond the

market for restricted repairs. Because farmers and IRPs cannot always know, at the time of

equipment malfunction, whether repair will ultimately require dealer involvement, and because

farmers sometimes prefer to have all repairs performed by one provider in one trip, Deere’s

repair restrictions steer additional (non-restricted) repair business away from self-repair and IRPs

and into Deere’s dealer network.




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        12.     Deere’s restrictions deprive farmers of the use of their own repair labor, deny

them access to their preferred repair service provider, prevent them from more reliably planting,

spraying, or harvesting crops on a schedule that would allow them to maximize yield, and force

them to spend more on repair and parts. Deere dealers charge more for service than IRPs, with

one internal Deere analysis identifying                                                  . And

unlike farmers and IRPs, Deere dealers also almost always use more expensive Deere-branded

parts in their repairs.

        13.     Deere’s restrictions harm farmers and IRPs while enriching Deere and its dealers.

As one Deere executive explained:




                      according to Deere’s documents, Deere’s parts business accounted for        %

of its total operating profits in FY 2016.

        14.     Deere’s practices have generated an outpouring of public concern from farmers

and IRPs. Aggrieved farmers have mounted an extensive state lobbying campaign in support of

“right-to-repair” legislation across the United States, leading to recent legislation in Colorado.

        15.     Deere has responded to public outcry regarding its restrictive repair practices with

its own intensive lobbying against such “right-to-repair” legislation, accompanied by a series of

half measures and unfulfilled commitments.




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              invoke environmental compliance to fight state legislation that would require Deere

to make such tools available. As one Deere dealer candidly explained,

                                                            A Deere employee similarly observed

that                                                                                         Like

Deere does elsewhere in the world, and like original equipment manufacturers do in the

automobile and diesel truck industries in the United States, Deere could enable repair by

equipment owners and IRPs without undue risk of violating environmental laws, risking operator

safety, or compromising its intellectual property rights.

        20.    In light of the unfair and anticompetitive conduct alleged herein, Plaintiffs seek an

order from this Court (a) enjoining Deere from engaging in such conduct, (b) ordering Deere to

make all repair resources that it makes available to its dealers, including Full-Function Service

ADVISOR and any similar future repair tools, available to agricultural equipment owners and

IRPs on reasonable and nondiscriminatory terms, and (c) ordering such other equitable relief as

the Court may deem appropriate.

II.     JURISDICTION AND VENUE

        21.    This Court has subject matter jurisdiction over this action pursuant to Section 5(a)

of the FTC Act, 15 U.S.C. § 45(a), 28 U.S.C. §§ 1331, 1337(a), and 1345, and 15 U.S.C. § 26, as

well as supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a). This Court’s exercise of

supplemental jurisdiction over the state law claims will avoid unnecessary duplication and

multiplicity of actions and will promote the interests of judicial economy, convenience, and

fairness.

        22.    This Court has personal jurisdiction over Deere because Deere has the requisite

constitutional contacts with the United States pursuant to 15 U.S.C. § 53(b). This Court also has


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personal jurisdiction over Deere because Deere maintains its corporate headquarters in Illinois,

does business in Illinois, and has engaged in the illegal conduct alleged herein in Illinois.

        23.     Deere’s general business practices and the unfair methods of competition alleged

herein are activities in or affecting “commerce” within the meaning of Section 4 of the FTC Act,

15 U.S.C. § 44, and Section 1 of the Clayton Act, 15 U.S.C. § 12.

        24.     Deere is, and at all times relevant herein has been, a corporation, as the term is

defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

        25.     Venue in this district is proper under 15 U.S.C. § 22, Section 13(b) of the FTC

Act, 15 U.S.C. § 53(b), and 28 U.S.C. §§ 1391(b), (c) and (d). Deere is found, resides, transacts

business, and/or has agents in this state and district, and a portion of the affected commerce

described herein has been carried out in this state and district.

III.    THE PARTIES

        26.     Plaintiff Federal Trade Commission (“FTC”) is an independent administrative

agency of the United States government established, organized, and existing pursuant to the FTC

Act, 15 U.S.C. §§ 41 et seq., with its principal offices in Washington, D.C. The FTC is vested

with authority and responsibility for enforcing, inter alia, Section 5 of the FTC Act, 15 U.S.C.

§ 45, and is authorized under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to initiate court

proceedings to enjoin violations of any law the FTC enforces. This case is proper under Section

13(b) of the FTC Act, 15 U.S.C. § 53(b), because the FTC has reason to believe that Deere is

violating, or is about to violate, Section 5 of the FTC Act, making it appropriate, efficient, and

suitable to file this action in federal court to seek the requested relief.

        27.     Plaintiff State of Illinois is a sovereign state. Kwame Raoul is the Attorney

General of the State of Illinois, the chief legal officer for the state, and brings this action on

behalf of the people of the State of Illinois to protect the state, its general economy, and its


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residents from Deere’s unlawful business practices. The Illinois Attorney General has authority

under federal and state law to pursue injunctive and other equitable relief to prevent and remedy

the harms caused by anticompetitive conduct. The Illinois Attorney General also has authority to

seek civil penalties under state law to punish and deter those engaged in unlawful conduct.

       28.      Plaintiff State of Minnesota is a sovereign state. Keith Ellison is the Attorney

General of the State of Minnesota, the chief legal officer for the state, and brings this action on

behalf of the people of the State of Minnesota to protect the state, its general economy, and its

residents from Deere’s unlawful business practices. The Minnesota Attorney General has

authority under federal and state law to pursue injunctive and other equitable relief to prevent

and remedy the harms caused by anticompetitive conduct. The Minnesota Attorney General also

has authority to seek civil penalties under state law to punish and deter those engaged in

unlawful conduct.

       29.      Defendant Deere & Company is a manufacturer of agricultural equipment and

other machinery and conducts business throughout the United States and worldwide. Deere is

headquartered in Moline, Illinois, with its principal place of business at One John Deere Place,

Moline, Illinois, 61265, and is organized and existing under the laws of Delaware. Unless

otherwise specified, “Deere” refers to Deere & Company and all corporate predecessors,

subsidiaries, successors, and affiliates.

IV.    THE ECOSYSTEM FOR DEERE EQUIPMENT

       30.      Large agricultural equipment, such as tractors and combines, is indispensable to

the production of numerous staple crops that are critical to the American food supply, including

corn, soybeans, wheat, oats, and barley. Farmers rely on functioning agricultural equipment in

order to timely plant, care for, and harvest these crops. As of September 2023, there were at least

             pieces of Deere agricultural equipment in the United States.


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        31.     At least four types of products and services are relevant to this Complaint: (1) the

agricultural equipment itself; (2) electronic repair tools used to diagnose equipment problems

and facilitate repair; (3) repair services for the equipment; and (4) parts used in the course of

performing repairs.

        A.      Agricultural Equipment

        32.     Deere is the largest manufacturer of agricultural equipment in the United States.

Deere organizes its agricultural equipment business into two segments: “Production and

Precision Agriculture” (PPA) and “Small Agriculture and Turf.” The PPA segment includes

tractors with                          (“Large Tractors”) and combine harvesters (“Combines”),

among other equipment types. In fiscal year 2023, Deere’s PPA segment generated $26.8 billion

in net sales globally and $7.0 billion in operating profit.

        33.     A new Large Tractor or Combine costs hundreds of thousands of dollars. When

properly maintained and repaired, a Large Tractor or Combine can be used for 20 years or

longer. Deere estimates that the average lifespan of a Combine is        years and considers a

machine                                                              .

        34.     Today, Deere’s Large Tractors and Combines rely heavily on electronic

components. Many functions that were performed through physical or mechanical means on

older models are now—on newer models—performed electronically and controlled through

ECUs.

        35.     Deere generally does not sell equipment directly to farmers. Rather, Deere

distributes its products through a network of authorized dealers, who purchase new equipment

from Deere and re-sell the equipment to farmers and other equipment owners. As of March 2023,

Deere’s dealer network comprised         dealer organizations with         locations in the United

States and Canada.


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       36.     At all times relevant to this Complaint, Deere possessed monopoly and market

power in the sale of Large Tractors and Combines in the United States. Deere’s monopoly and

market power as to Large Tractors and Combines are shown directly through Deere’s ability to

raise prices, reduce output, and degrade quality in those markets (including through imposition

of the challenged restraints on repairability), and indirectly through Deere’s dominant market

shares in those markets, as to which the barriers to entry are substantial.

       37.     Large Tractors have particular characteristics and uses that differentiate them

from other types of agricultural equipment, including Combines and smaller tractors. Large

Tractors are generally used to pull or push other agricultural machinery, such as seeding,

planting, and tillage equipment. Smaller tractors generally lack the power needed to perform, in a

comparable amount of time and with comparable quality, the tasks that are performed using

Large Tractors. From the perspective of an equipment owner, smaller tractors and other

agricultural equipment are not reasonable substitutes for Large Tractors.

       38.     Combines have particular characteristics and uses that differentiate them from

other types of agricultural equipment, including tractors. Combines are generally used for the

specific purpose of harvesting grain and, as a result, are not used outside of harvest season. From

the perspective of an equipment owner, other agricultural equipment is not a reasonable

substitute for Combines.

       39.     The relevant geographic market for the sale of Large Tractors and Combines is no

broader than the United States. Agricultural equipment is largely regulated on a national basis,

including by the EPA. In internal documents, Deere



                                                 . Although an equipment owner is not limited to a




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local dealer when buying equipment, and equipment purchased in one part of the country may be

moved to and used in another part of the country, the costs of transporting large pieces of

agricultural equipment limits the area within which equipment owners are willing to purchase

equipment.

       40.         For each fiscal year from at least 2012 to 2021, Deere’s share of Large Tractors

sold in the United States exceeded       %. For each fiscal year from at least 2012 to 2021, Deere’s

share of Combines sold in the United States ranged between            % and    %. These shares exceed



       41.         Deere describes itself as having                  in large agricultural equipment in

the United States, including Large Tractors and Combines. Deere has maintained an internal goal

of

               .

       42.         Deere’s competitors view Deere

                                                           . Deere’s competitors, including CNH

Industrial and AGCO Corp.,

           .

       43.         Equipment owners cannot switch from Deere agricultural equipment to other

manufacturers’ equipment without incurring significant costs. These costs and barriers to

switching can include the cost of acquiring replacement equipment (often hundreds of thousands

of dollars per machine), the cost of learning how to operate new equipment, and the cost of

losing data generated by existing Deere equipment. Equipment owners switching only some of

their equipment from Deere to other manufacturers also incur the costs of making their “mixed

fleets” interoperable.




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       44.     There are substantial barriers to entry into the Large Tractor and Combine

markets. Entry is difficult, costly, and time-consuming. Potential entrants face significant capital,

technical, logistical, and regulatory barriers. These barriers include developing manufacturing

processes and capabilities, obtaining regulatory approvals, developing distribution networks, the

lack of an established reputation, and interoperability issues across “mixed” fleets of agricultural

equipment produced by different manufacturers.

       B.      Repair Tools

       45.     Because Deere equipment has become increasingly computerized, software tools

capable of interacting with the electronic components of the equipment are increasingly

necessary to diagnose and repair Deere agricultural equipment. Deere offers two versions of its

electronic repair tool: (1) Full-Function Service ADVISOR, a fully functional repair tool that

Deere makes available only to Deere dealers, and (2) a degraded Customer Service ADVISOR,

which Deere licenses to equipment owners, IRPs, and others.

       46.     Full-Function Service ADVISOR can communicate with agricultural equipment

software through a cable or, in some cases, wirelessly. Dealers currently pay Deere

                           to license Full-Function Service ADVISOR. Service technicians at

Deere dealers rely on Full-Function Service ADVISOR for critical repair tasks: to perform

diagnostic tests; to identify and clear error codes (known as “diagnostic trouble codes” or

“DTCs”) being returned by equipment; to calibrate ECUs; to download from a Deere server and

install customized ECU software code (referred to as “payload files”); and to access diagnostic

and troubleshooting information on Deere’s Case and Contact Management System (“CCMS”),

formerly referred to as Dealer Technical Assistance Center (“DTAC”).




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       47.     CCMS/DTAC contains both a repository of established solutions to commonly

experienced equipment problems and a “helpdesk” component whereby problems are submitted

to Deere engineers, who attempt to resolve them.

       48.     Installing payload files, performing tests and calibrations, and accessing

CCMS/DTAC are critical to the ability of a repair technician to fully diagnose equipment issues

and complete repairs on Deere equipment.

       49.     The installation of payload files provided by Deere onto ECUs is sometimes

referred to as “reprogramming.” Reprogramming is required for repairs that involve replacement

of ECUs, including some corresponding sensors and valves (sometimes referred to as “parts

pairing”), or reinstallation of an ECU’s software (sometimes referred to as ECU “flashing”).

Full-Function Service ADVISOR’s reprogramming function does not require or enable a dealer

technician to modify the software payload received from Deere or access the source code

contained therein.

       50.     Deere initially launched Customer Service ADVISOR for agricultural equipment

in 2017. Customer Service ADVISOR’s functionalities are limited compared to Full-Function

Service ADVISOR’s functionalities. Among other differences, users of Customer Service

ADVISOR receive more limited diagnostic information, cannot perform reprogramming of

ECUs, and cannot access either CCMS/DTAC solutions or the CCMS/DTAC “helpdesk”

feature. As a result, users of Customer Service ADVISOR cannot perform many key repairs that

Deere dealers can perform using Full-Function Service ADVISOR.

       51.     Deere makes Customer Service ADVISOR available only in one-year increments.

Deere currently charges $3,160 for a one-year subscription to Customer Service ADVISOR for

agricultural and turf equipment, and $2,560 for a one-year renewal of an existing Customer




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Service ADVISOR subscription. One Deere employee observed that



He continued,




        52.     Farmers and IRPs do not consider Customer Service ADVISOR as a reasonable

substitute for Full-Function Service ADVISOR due to the degraded functionality of the former.

        53.     Several third-party developers, including Bosch, Cojali, and Texa, also offer

repair tools that can interoperate to varying degrees with Deere equipment. These third-party

developers cannot develop the capabilities to read and clear all of the diagnostic trouble codes on

Deere equipment, to reprogram ECUs on Deere equipment, or to access either CCMS/DTAC

solutions or the CCMS/DTAC “helpdesk” feature. Deere does not view these third-party repair

tools

                                 .

        54.     Farmers and IRPs do not consider third-party repair tools as reasonable substitutes

for Full-Function Service ADVISOR due to their limited functionality.

        55.     At all times relevant to this Complaint, Deere possessed monopoly and market

power with respect to fully functional repair tools capable of enabling all repairs for Deere Large

Tractors and Combines (“Fully Functional Repair Tools”) in the United States.

        56.     Full-Function Service ADVISOR is the only Fully Functional Repair Tool that is

currently available in the United States. Only Deere has the requisite information and knowledge

to develop a fully functional repair tool for Deere equipment. Other makers of repair tools for

agricultural equipment are unable to make a fully functional repair tool capable of repairing




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Deere equipment without affirmative assistance from Deere,

               .

        57.        Full-Function Service ADVISOR has particular uses and characteristics that

differentiate it from other electronic repair tools for Deere equipment, including Customer

Service ADVISOR. Other electronic repair tools cannot be used to reprogram ECUs, complete

certain tests and repairs, or access CCMS/DTAC. Other electronic repair tools thus cannot

complete a significant number of repairs.

        58.        When setting prices for repair tools, Deere does not consider the potential impact

of those prices on competition in markets for Large Tractors and Combines.

        59.        The relevant geographic market for Fully Functional Repair Tools is at least as

broad as the United States. Deere’s License Agreement for Full-Function Service ADVISOR

asserts that

                                                           . Internal Deere documents indicate that

Deere’s decision making with respect to the availability of Full-Function Service ADVISOR

                                           .

        60.        Deere is the only supplier of Full-Function Service ADVISOR. Deere thus holds a

100% share of the market for Fully Functional Repair Tools.

        61.        Competition in the markets for Large Tractors and Combines does not constrain

Deere’s harmful behavior in the market for Fully Functional Repair Tools, including because

Deere possesses market and monopoly power in the markets for Large Tractors and Combines,

because equipment owners face significant switching costs, and because, as described further

below, customers have only limited ability to conduct lifecycle pricing.




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       C.      Repair Services

       62.     Repair services are typically performed by Deere dealers, by equipment owners

themselves (known as “DIY” or “self-repair”), or by IRPs.

       63.     Deere dealers perform repair services “in shop” at a dealership location or “in the

field.” As of 2024, hourly rates for service provided by a Deere dealer generally range between

$130 to $200 per hour, with dealers’ field rates generally higher than shop rates.

       64.     When work is performed in shop at a Deere dealer, an equipment owner must

spend the time and fuel to transport the equipment to and from the dealership location. When

work is performed by a Deere dealer in the field, the dealer generally charges for technician time

spent traveling to and from the field location and may also charge a per-mile travel fee. Given

these costs, the vast majority of equipment repaired by a Deere dealer organization comes from

the local geographic area surrounding the dealer organization’s locations—generally within a

distance of 30 to 60 miles.

       65.     Equipment owners engaged in self-repair also perform service labor on Deere

equipment. Some farms have in-house service capabilities, and equipment owners gain the

expertise to perform repair services through myriad means, including formal or informal training,

prior experience as a service technician at Deere dealers, and other prior technical experience. As

an internal Deere analysis explains,



       66.     Finally, IRPs perform service labor on Deere equipment. Many IRPs are former

Deere dealer technicians, and others come from other technical backgrounds. Although IRP labor

rates vary, they are almost always substantially lower than Deere dealers’ rates. A Deere internal

analysis identified

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        67.     Not all repairs are created equal, and repairs can range from something as simple

as replacing a battery or filter, to replacing a blade or a sensor, to replacing a transmission or

rebuilding an engine. Different repairs require different inputs and incur different total costs.

Large Tractors and Combines are the most expensive equipment to repair, and an internal Deere

analysis acknowledges that

           .

        68.     Critically, certain repairs, including those involving reprogramming or engine re-

calibration, require the use of a Fully Functional Repair Tool. Provision of these “restricted

repairs” for Deere Large Tractors and Combines is a relevant service market in which to assess

Deere’s conduct. Restricted repair services include a broad cluster of repair services for which

competitive conditions are substantially similar. In particular, each type of restricted repair

service involves an equipment issue that can be diagnosed and repaired only with a Fully

Functional Repair Tool, and thus currently only by Deere dealers. Repair services that do not

require a Fully Functional Repair Tool are not included in the relevant service market.

        69.     At all times relevant to this Complaint, Deere possessed monopoly and market

power with respect to the market for restricted repairs because Deere held the power to exclude

competition. By choosing whom to empower with a Fully Functional Repair Tool—only Deere

dealers—Deere has excluded other providers of repair services from providing restricted repairs.

As a result of Deere’s exercise of monopoly power, Deere dealers collectively have a 100%

share of restricted repairs.

        70.     Relevant geographic markets for assessing the effects of Deere’s exclusionary

conduct on the sale of repair services include the United States and potentially regional or local

submarkets within the United States.




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       71.     Competition in the markets for Large Tractors and Combines does not constrain

Deere’s harmful behavior in the market for restricted repair services, including because Deere

possesses market and monopoly power in the markets for Large Tractors and Combines, because

equipment owners face significant switching costs, and because customers have only limited

ability to conduct lifecycle pricing.

       72.     Deere’s customers cannot calculate lifecycle pricing—that is, fully determine in

advance the total cost of ownership over the life of the equipment, which includes the costs of

repairs and parts over time—and only some customers make the attempt. Deere does not

consistently make the lifecycle pricing information that it has available to customers. Moreover,

repairs do not arise consistently or predictably, and the need for repairs (and the extent and cost

of repairs needed, including whether a dealer will need to be involved) can vary based on factors,

such as weather and field conditions, that cannot be estimated with certainty over the lifespan of

a piece of agricultural equipment.

       73.     Deere has asserted that even it cannot easily identify the universe of equipment

issues (and corresponding DTCs) requiring Full-Function Service ADVISOR, and thus dealer

involvement, to resolve. A Deere witness stated that Deere “does not maintain in the ordinary

course of business a dictionary or reference guide for whether each DTC can be resolved by the

customer without intervention by a John Deere authorized dealer.” She further asserted that

defining the universe of DTCs requiring dealer involvement would require “a multi-departmental

team to manually analyze the DTCs,” including, for each equipment model, sixteen hours of

effort from “[i]nfrastructure or enterprise engineers [with] expertise in enterprise diagnostic

strategy and tools.” Equipment owners are even less able to perform this analysis. An

examination of DTCs                                   shows that, while some DTCs are




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accompanied by a message telling the equipment owner to contact a Deere dealer, this message

accompanies only

      .

          74.    As a result, equipment owners faced with a repair face uncertainty as to whether

they or an IRP can complete the necessary repairs. An equipment owner may seek an IRP’s

assistance or attempt self-repair, only to later discover that the repair can be completed only by a

Deere dealer. Customers’ ability to lifecycle price is further degraded by these difficulties in

identifying whether a repair will require Deere dealer intervention.

          D.     Repair Parts

          75.    Deere sells several lines of repair parts for agricultural equipment in the United

States. These include “genuine” or Deere “OE” parts, which are manufactured to the same

specifications as parts used in new equipment, remanufactured or “Reman” parts, which are

complex components that have been refurbished, and “all-makes” parts that have been

reengineered and are built to different specifications, which are marketed by Deere primarily

under the A&I brand.

          76.    Deere offers approximately             different OE parts for sale in the United

States. Deere OE parts account for approximately        % of Deere’s agricultural equipment parts

sales in the United States.

          77.    In fiscal year 2023, Deere sold              in parts in Deere’s geographic Region

4 (consisting of the United States, Canada, Australia, and New Zealand). This volume

corresponds to     % to    % of all parts sold for Deere agricultural equipment in that region that

fiscal year.

          78.    The remaining     % to    % is comprised of non-Deere or “generic” parts used on

Deere agricultural equipment, which are often referred to as “aftermarket” or “all-makes” parts.


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Deere OE parts are generally priced at a premium to the corresponding generic parts. Generic

parts are typically   % to    % less expensive than their Deere OE counterparts. Generic parts

sellers may use the same manufacturer as Deere, and

                                        .

       79.     Deere distributes its OE parts only through its authorized dealers, who resell them

to customers, either in the course of providing repair services or in an “over-the-counter” retail

transaction. Deere emphasizes                                                                 ,

identifying to dealers                                         and explaining that

                                            Indeed, both Deere and Deere dealers

                                                        .

       80.     Certain state laws prohibit Deere from requiring that Deere dealers purchase parts

exclusively from Deere. The dealership agreement between Deere and its dealers, however, does

require Deere dealers to “actively and aggressively promote the sale of Parts and Service” and

“maintain . . . inventories of Parts”

                      . Moreover, Deere has the right to



                                                                                        .

       81.     Deere dealers source the vast majority of parts from Deere. According to surveys

and analyses conducted by Deere, dealer               as to parts (also referred to as parts “capture”)

is approximately      %.

                , and Deere’s parts capture is significantly higher when its dealers perform repairs

compared to other repair channels.




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       82.      Deere dealers’ almost exclusive use of Deere OE parts when performing repairs

on Deere equipment stands in sharp contrast to Deere’s overall     % to    % share of parts for

agricultural equipment and in even sharper contrast to equipment owners’ and IRPs’ usage of

Deere parts, which is significantly lower. By one estimate, equipment owners engaging in self-

repair of Deere equipment use               % Deere OE parts and IRPs repairing Deere

equipment use                 % Deere OE parts.

       83.      Deere reaps massive profits from its parts business.




       84.      Deere dealers also reap massive profits from reselling parts for Deere agricultural

equipment. On average, each Deere dealer sells                in Deere parts per year, earning

gross margins of                       and operating margins of                      . Deere

dealers describe reselling Deere OE parts as a highly lucrative and reliable line of business.

V.     DEERE IMPOSES UNLAWFUL RESTRICTIONS ON REPAIRS, HARMING
       COMPETITION FOR REPAIR SERVICES AND INCREASING COSTS TO
       EQUIPMENT OWNERS

       A.       Deere Computerizes Its Agricultural Equipment, But Does Not Make a
                Repair Tool Available to Equipment Owners or IRPs

       85.      Starting in              , Deere began installing ECUs (sometimes called

“controllers”) on its Large Tractors and Combines. ECUs are akin to small computers that

monitor and control particular functions of agricultural equipment. Today, a Large Tractor or

Combine can have upwards of 20 ECUs that monitor and control various functions. As of

September 2023, there are more than                pieces of Deere agricultural equipment in the

United States and               ECUs on that equipment.



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       86.     As Large Tractors and Combines became more computerized during the 21st

century, farmers began noticing problems with the repairability of this new equipment. Whereas

farmers historically could complete repairs through mechanical means, the digitization of farm

equipment necessitated software tools to repair issues related to ECUs.

       87.     In or around       , Deere developed Full-Function Service ADVISOR as one such

tool for Deere dealers to use to diagnose and repair issues with or observable through agricultural

equipment software. Deere’s Full-Function Service ADVISOR has become a critical input for

repair technicians providing repair services on Deere Large Tractors and Combines. Deere has

continuously developed, maintained, and updated Full-Function Service ADVISOR, and has

made Full-Function Service ADVISOR available as a resource for its dealers between           and

the present.

       88.     Despite having the technology developed and available, at no time has Deere

made Full-Function Service ADVISOR or any other fully functional repair tool for Deere

agricultural equipment generally available to equipment owners or IRPs in the United States.

       89.     As a result, repairs related to ECUs became the exclusive domain of Deere

dealers. This includes repairs equivalent to those that farmers historically completed themselves,

such as replacing mechanical parts on the machines.

       90.     The inability of consumers and independent repair shops to complete repairs

related to ECUs has deprived Deere equipment owners of their historical ability to select a repair

solution based upon cost, timeliness, and quality. Instead, Deere equipment owners are

compelled to seek Deere dealer intervention to complete these repairs, regardless of their

preference or of the differences in cost, timeliness, or quality.




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       B.      Deere Identifies Parts as a Business Opportunity and Seeks to
                       Using Its Dealer Network in Order to Increase Parts Sales

       91.     During the 2010s,




       92.     Deere had long recognized the importance of its parts sales to the company’s

profitability. But the parts landscape was evolving, with the ascendance of new generic parts

suppliers and distribution channels threatening Deere’s OE parts share.




       93.     Deere commenced




       94.     A key pillar of




                    . Deere’s internal documents refer to this strategic objective as




      As one Deere executive explained,




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        95.       By contrast, an equipment owner or IRP performing a repair is more likely to use

non-Deere generic parts. The same Deere executive observed,

                                                                        A consultant supporting

Deere                                                     (and who later became a Deere executive)

observed that




        96.       Thus, Deere seeks to steer service business away from equipment owners and

IRPs and towards its dealer network, so as to generate increased parts revenue and profit. As the

consultant noted,

        97.                                                                              translates

into more profits for Deere and its dealers. By one estimate, increasing Deere dealers’ service

capture by just     % to       % increases profits by $         to $

                           .

        98.       One significant way in which Deere

         is by withholding from equipment owners and IRPs Deere’s Full-Function Customer

Service ADVISOR repair tool and making available only the degraded Customer Service

ADVISOR tool.

        C.        Deere Continues to Unlawfully Withhold a Fully Functional Repair Tool
                  from Equipment Owners and IRPs, While Making Only Partial Solutions
                  Available in the United States

        99.       At various times, Deere has made the less capable Customer Service ADVISOR

available to equipment owners and IRPs. Despite its clear inferiority, Deere and its dealers have

been reluctant to make even this degraded tool available to equipment owners and IRPs due to

concerns that enabling repair would disadvantage Deere’s and its dealers’ businesses.


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        100.                     , Deere made an early version of Customer Service ADVISOR

available for construction and forestry equipment, but not for its agricultural equipment.

According to Deere documents, Deere withheld Customer Service ADVISOR for agricultural

equipment




        101.   It was not until August 2017 that Deere made Customer Service ADVISOR for

agricultural equipment available to equipment owners and IRPs via Deere’s dealer network.

After



     , Deere in May 2022 made Customer Service ADVISOR available to agricultural equipment

owners and IRPs directly via Deere’s website.

        102.   Deere made the less-than-fully functional Customer Service ADVISOR available

to agricultural equipment owners and IRPs in an effort to placate so-called “right-to-repair”

advocates and thereby avoid legislative or regulatory intervention without relinquishing the

commercial advantage that exclusive access to Full-Function Service ADVISOR confers on

Deere and its dealer network in parts and repair aftermarkets. Deere viewed such legislative or

regulatory intervention as a significant threat because



        103.   In 2018, the Association of Equipment Manufacturers (“AEM”), a trade

association of which Deere is a member, issued a statement of principles regarding right to repair

(“2018 Statement”). Despite the 2018 Statement, in which AEM committed on behalf of its

members “to provide end users with the information and tools needed to maintain, diagnose, and




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repair their equipment,” Deere still does not make Full-Function Service ADVISOR available to

agricultural equipment owners or IRPs.

       104.    In 2023, Deere entered into a Memorandum of Understanding with the American

Farm Bureau Federation regarding access to repair tools (“2023 MOU”). Despite the 2023 MOU,

in which Deere committed to “assure the timely availability, on Fair and Reasonable terms, of

Tools, Specialty Tools, Software and Documentation” originating from Deere, Deere still does

not make Full-Function Service ADVISOR available to agricultural equipment owners or IRPs.

       105.    In 2023, Colorado enacted legislation requiring that agricultural equipment

manufacturers make embedded software and repair tools available to equipment owners and

IRPs, among other obligations. See Colo. Rev. Stat. § 6-1-1503(1). Despite this enacted

legislation, Deere has not changed its repair offerings in Colorado: Deere does not make Full-

Function Service ADVISOR available to agricultural equipment owners or IRPs in Colorado,

and the repair tool it does offer in Colorado—Customer Service ADVISOR—is not different

from that offered in other states.

       106.    The version of Customer Service ADVISOR that Deere makes available to

agricultural equipment owners and IRPs in the United States today still lacks essential functions

necessary for repair, including reprogramming, the ability to conduct certain tests and

calibrations, and the ability to access either CCMS/DTAC solutions or the CCMS/DTAC

“helpdesk” feature. As one Deere employee observed, even with degraded functionality,

Customer Service ADVISOR is

       D.      Deere’s Repair Restrictions Benefit Its Dealers and Its Parts Business While
               Harming IRPs and Equipment Owners

       107.    Because Deere withholds Full-Function Service ADVISOR from equipment

owners and IRPs and removes critical features from Customer Service ADVISOR, certain



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they often do not know with certainty (and the DTC code does not indicate) whether, for

example, repairing the machine will require reprogramming, performing restricted tests or

calibrations, or accessing CCMS/DTAC. Some equipment owners therefore bring their

equipment to Deere dealers for repairs that do not actually require dealer involvement. Full-

Function Service ADVISOR thus confers an incremental competitive advantage on Deere

dealers (and Deere) as to repair services and parts beyond those needed for restricted repairs.

       111.    This steering effect is also compounded by the fact that multiple repairs are

commonly performed in a single visit, and equipment owners value the efficiency of one-stop

shopping for repairs. Thus, if any restricted repair is (or may be) required for a piece of

equipment, Full-Function Service ADVISOR confers an incremental competitive advantage on

the dealer (and Deere) as to all repair services and parts needed for that equipment.

       112.    In addition to being disadvantaged in competing to perform repair services on

Deere agricultural equipment, equipment owners also incur additional service costs. Instead of

being free to choose to rely on their own capabilities or those of an IRP to complete repairs in the

most economical and expeditious manner, equipment owners must pay Deere dealers’

substantially higher hourly labor rates, and often are unable to obtain timely dealer service.

       113.    The advantage that Deere’s repair restrictions confer on Deere dealers inures to

Deere’s benefit as well. Deere sells more parts and earns more profits than it would otherwise.

This is because Deere dealers use a greater proportion of Deere parts in repairs than IRPs or

equipment owners.

       114.    Deere continues to withhold Full-Function Service ADVISOR from customers

and IRPs and to remove key functions from Customer Service ADVISOR. Absent entry of




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injunctive relief by the Court, Deere is likely to continue to engage in unfair methods of

competition that harm the public interest.

       E.      The Repair Restrictions Imposed by Deere Are Not Reasonably Necessary to
               Achieve Any Cognizable Procompetitive Benefits

       115.    Deere’s practices as alleged herein are not reasonably necessary to achieve any

cognizable procompetitive benefits. The harm from those practices outweighs any

procompetitive benefits, and Deere could reasonably achieve any procompetitive objectives

through less restrictive means.

                                             COUNT I

   MONOPOLIZATION OF RESTRICTED REPAIR SERVICES MARKET ARISING
               UNDER SECTION 2 OF THE SHERMAN ACT

       116.    Plaintiffs re-allege and incorporate by reference the allegations in all of the

paragraphs above.

       117.    At all times relevant to this Complaint, Deere has had monopoly power in the

United States in the market for restricted repairs for Deere Large Tractors and Combines.

       118.    Deere has willfully maintained its monopoly power in the market for restricted

repairs for Deere Large Tractors and Combines through its course of anticompetitive and

exclusionary conduct, including Deere’s repair restrictions.

       119.    Deere’s conduct has harmed price and non-price competition and the competitive

process.

       120.    There is no sufficient procompetitive justification for Deere’s conduct.

       121.    Deere’s anticompetitive course of conduct constitutes unlawful monopolization of

the market for restricted repairs of Deere Large Tractors and Combines in violation of Section 2

of the Sherman Act, 15 U.S.C. § 2, and an unfair method of competition in violation of Section

5(a) of the FTC Act, 15 U.S.C. § 45(a).


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                                             COUNT II

                         UNFAIR METHOD OF COMPETITION
                    IN VIOLATION OF SECTION 5 OF THE FTC ACT

       122.    Plaintiff FTC re-alleges and incorporates by reference the allegations in all of the

paragraphs above.

       123.    At all times relevant to this Complaint, Deere has had monopoly power in the

United States with respect to Fully Functional Repair Tools.

       124.    Deere leverages its monopoly power in the United States with respect to Fully

Functional Repair Tools to harm competitive conditions in the market for restricted repairs for

Deere Large Tractors and Combines by unfairly disadvantaging equipment owners performing

self-repair and IRPs seeking to compete with Deere dealers in the supply of repair services.

       125.    Deere derives an economic benefit from the degradation of competitive conditions

in the market for restricted repairs for Deere Large Tractors and Combines because that

degradation increases Deere’s parts sales.

       126.    There is no sufficient procompetitive justification for Deere’s conduct.

       127.    Deere’s anticompetitive course of conduct constitutes an unfair method of

competition in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                             COUNT III

                    VIOLATIONS OF THE ILLINOIS ANTITRUST ACT

       128.    Plaintiff State of Illinois re-alleges and incorporates by reference the allegations

in all of the paragraphs above.

       129.    Deere’s conduct as alleged herein was done with the purpose of maintaining

monopoly power over a substantial part of trade or commerce of Illinois in the market for




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restricted repairs for Deere Large Tractors and Combines in violation of the Illinois Antitrust

Act, 740 ILCS 10/3(3).

         130.   Many hundreds of farmers and IRPs in Illinois have purchased Deere’s products

and related services and have paid supracompetitive prices and otherwise been harmed by the

Deere’s unlawful conduct.

         131.   Plaintiff State of Illinois, under its antitrust enforcement authority in 740 ILCS

10/7, seeks and is entitled to injunctive relief, civil penalties, fees and costs, and any other

remedy available for these violations under Sections 7(1), 7(2), and 7(4) of the Illinois Antitrust

Act. 740 ILCS 10/1 et seq.

                                             COUNT IV

                 VIOLATIONS OF THE MINNESOTA ANTITRUST LAW

         132.   Plaintiff State of Minnesota re-alleges and incorporate by reference the allegations

above.

         133.   Deere’s conduct alleged herein was done with the purpose of maintaining

monopoly power over repairs for agricultural equipment in violation of Minnesota Statutes

section 325D.52.

         134.   Many hundreds of farmers and IRPs in Minnesota have purchased Deere’s

products and related services and have paid supracompetitive prices and otherwise been harmed

by the Deere’s unlawful conduct.

         135.   Plaintiff State of Minnesota, under its authority in Minnesota Statutes Section

8.31 and the Minnesota Antitrust Law, seeks and is entitled to injunctive relief, civil penalties,

fees and costs, and any other remedy available for these violations under Minnesota law.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs FTC, the State of Illinois, and the State of Minnesota

respectfully request that this Court, as authorized by Section 13(b) of the FTC Act, 15 U.S.C.

§ 53(b), Section 16 of the Clayton Act, 15 U.S.C. § 26, Section 7 of the Illinois Antitrust Act,

740 ILCS 10/1 et seq., the Minnesota Antitrust Law, Minn. Stat. Sections 325D.49 to 325D.66,

and as authorized by its own equitable powers, enter final judgment against Deere, declaring,

ordering, and adjudging:

       1.      that Deere’s conduct violates Section 2 of the Sherman Act, 15 U.S.C. § 2;

       2.      that Deere’s conduct violates Section 5(a) of the FTC Act, 15 U.S.C. § 45(a);

       3.      that Deere’s conduct violates the Illinois Antitrust Act, 740 ILCS 10/3(3);

       4.      that Deere’s conduct violates the Minnesota Antitrust Law, Minn. Stat. Sections

325D.49 to 325D.66;

       5.      that Deere is permanently enjoined from engaging in its unlawful conduct;

       6.      that Deere is permanently enjoined from engaging in similar and related conduct,

or any conduct with the same or similar purpose and effect; and

       7.      that Deere is ordered to make available to owners of Deere Large Tractors and

Combines and IRPs on reasonable and nondiscriminatory terms Full-Function Service

ADVISOR and any other repair resource that Deere makes available to its dealers, so as to

enable agricultural equipment owners and IRPs to perform the full range of repairs that a Deere

dealer can perform on Deere Large Tractors and Combines, including without limitation access

to reprogramming capabilities, the ability to conduct all tests and calibrations, and the ability to

access CCMS/DTAC solutions and the CCMS/DTAC “helpdesk” feature and other similar

resources;




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       8.      any preliminary or permanent equitable relief necessary to redress and prevent

recurrence of Deere’s violations of the law, as alleged herein;

       9.      any preliminary or permanent equitable relief necessary to restore fair competition

and remedy the harm to competition caused by Deere’s violations of the law;

       10.     the issuance of civil penalties as sought by Plaintiff State of Illinois and Plaintiff

State of Minnesota;

       11.     the award to Plaintiff State of Illinois and Plaintiff State of Minnesota of the costs

of suit, including reasonable attorneys’ fees and costs; and

       12.     any additional relief that the Court finds just and proper.



                                               * * *




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Dated: January 15, 2025                  Respectfully submitted,

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